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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              HUNTINGTON DIVISION

IN RE:
                                                     Bankruptcy No. 3:16-bk-30227
DENNIS RAY JOHNSON, II, et al.,
                                                     Jointly Administered
                Debtors.                             Chapter 11




                      AGREED ORDER CONTINUING HEARING ON
                          PETITION FOR ALLOWANCE OF
                         ADMINISTRATIVE EXPENSE CLAIM

         Pending is the motion of Peoples Bank, by counsel Arch W. Riley, Jr., to continue the

June 22, 2018 hearing on the Petition for Allowance of Administrative Expense Claim. Counsel

for Peoples Bank has an irreconcilable conflict and all parties agree to a continuance of the

hearing to July 31, 2018 Charleston Docket. The Court finding good cause to grant the motion

does accordingly:

         ORDER that a hearing on the Petition for Allowance of Administrative Expense Claim

shall be held on the 31st day of July, 2018 at 11:00 a.m., at the Robert C. Byrd U.S. Courthouse,

300 Virginia Street East, Bankruptcy Courtroom A, Charleston, West Virginia 25301.




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Prepared by:

/s/Arch W. Riley, Jr. _
Arch W. Riley, Jr.
Counsel for Peoples Bank




Agreed to by:

/s/ Patrick S. Cassidy
Patrick S. Cassidy




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